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 1 COSCA LAW CORPORATION
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 3 (916) 440-1010

 4 Attorney for Defendant
   RYAN CHEAL
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 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           2:12-CR-0185-TLN
11                                 Plaintiff,            STIPULATION AND ORDER TO
                                                         CONTINUE JUDGMENT AND
12   v.                                                  SENTENCE
13   RYAN CHEAL,
14                                 Defendant.
15

16                                             STIPULATION
            The parties, by and through their counsel of record, hereby stipulate that the sentencing
17

18 hearing currently scheduled for April 30, 2020, should be continued to September 17, 2020, at 9:30

19 a.m. A continuance is necessary because, while Mr. Cheal has pled guilty, a co-defendant is pending

20 trial, thus Mr. Cheal has not yet completed his cooperation obligations under his plea agreement.

21
     Moreover, any trial testimony by Mr. Cheal may help the Court gauge his remorse and rehabilitation,
22
     and thus assist the Court as it determines the sentence for Mr. Cheal.
23
     IT IS SO STIPULATED.
24

25 DATED:           April 16, 2020                /s/ Jason Hitt
                                                  JASON HITT
26                                                Assistant United States Attorney
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                                                     1
     USA v. Cheal, Stip and Proposed Order to Con’t J&S
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 1 DATED:         April 16, 2020              /s/ Chris Cosca
                                              CHRIS COSCA
 2                                            Counsel for Defendant
                                              RYAN CHEAL
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 5
                                              ORDER
 6

 7 IT IS SO FOUND AND ORDERED this 16th day of April, 2020.

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11                                                           Troy L. Nunley
12                                                           United States District Judge

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     USA v. Cheal, Stip and Proposed Order to Con’t J&S
